Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 1 of 9 PageID 4022




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


  BETHUNE-COOKMAN,
  UNIVERSITY, INC.,

        Plaintiff,

        v.

  DR. MARY MCLEOD BETHUNE                     Case No. 6:22-cv-47-WWB-RMN
  NATIONAL ALUMNI
  ASSOCIATION, INC.; JOHNNY L.
  MCCRAY, JR.; and MARY
  MCLEOD BETHUNE NATIONAL
  ALUMNI ASSOCIATION, INC.,

        Defendants.


                     REPORT AND RECOMMENDATION

       This cause comes before the Court for consideration on Plaintiff’s Motion

 for Contempt (Dkt. 104), filed on September 15, 2023. The motion has been

 referred to me for review and the preparation of a report and recommendation.

 28 U.S.C. § 636; see also In re: Authority of United States Magistrate Judges of

 the Middle District of Florida, Case No. 8:20-mc-100-T-23 (October 29, 2020).

 On September 22, Defendants responded in opposition (Dkt. 113), and on

 November 3, this Court held a hearing on the motion. Dkt. 136. 1 Finally, on



 1 The Court referenced this Motion and stated its intention to deny the motion

 as moot at a hearing held on December 11, 2023. Dkt. 175.
Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 2 of 9 PageID 4023




 November 15, Defendants filed a Notice with the Court in relation to the

 motion, and on November 28, Plaintiff filed a reply in support of its motion

 (Dkt. 152). Upon consideration, and for the reasons stated on the record at a

 second hearing held on December 11, 2023, I respectfully recommend that the

 Court deny Plaintiff’s Motion.

                              I. BACKGROUND

       On June 30, 2023, Plaintiff filed a motion to compel documents

 responsive to Plaintiff’s First Requests for Production (Dkt. 79), which was

 granted. See Dkt. 82. In the Order granting the motion to compel, Plaintiff was

 awarded its expenses, that is, reasonable attorney’s fees and costs, incurred in

 bringing the Motion. Id. at 12. The Court directed the parties to confer in good

 faith and stipulate to the reasonable expenses incurred and if they could not

 agree, the Court directed Plaintiff to file a motion supported by declarations

 and expense records to support their request of fees. Id. at 13. Plaintiff filed its

 verified motion for an award of attorney’s fees on July 26, 2023. Dkt. 84.

       Also on July 26—before the Court ruled on Plaintiff’s motion for

 attorney’s fees—the Defendants filed an “Objection and Motion to Reject or

 Modify” the undersigned’s order granting the motion to compel. See Dkt. 85.

 Defendants’ objection does not take issue with the amount of attorney’s fees

 because such an amount had not yet been determined by the undersigned when

 the objection was filed. The objection remains pending.


                                        -2-
Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 3 of 9 PageID 4024




       Then, on August 4, the undersigned issued an order awarding expenses

 to Plaintiff and directing Defendants to jointly and severally “pay Plaintiff

 $18,792.00 within 30 days.” Dkt. 87 at 3 (the “Fee Order”). The order was

 entered only after Defendants had been given an opportunity to respond,

 although they did not file a response in opposition to the award. See id. at 1.

 Defendants did not file an objection to the Fee Order.

       Nor did Defendants pay the award by the deadline, necessitating

 Plaintiff to file the instant contempt motion on September 15, 2023. Dkt. 104.

 The undersigned held a hearing on the motion for contempt on November 3,

 2023. Dkts. 136, 137, 146. At the hearing, counsel for Defendants represented

 that payment of the award would render the Defendant organization insolvent,

 but counsel was unable to confirm Mr. McCray’s financial ability to pay. See

 Dkt. 146 at 56:12 to 58:22. Counsel clarified at the hearing that Defendants

 had not paid the award because they were waiting for the Court to adjudicate

 their objection to the order granting Plaintiff’s motion to compel and awarding

 expenses. Id. at 58:23 to 59:11, 59:18 to 61:13.

       At the hearing, the undersigned directed the parties to file supplemental

 briefs concerning Defendants’ ability to pay the award. See Dkt. 146 at 63:11

 to 64:9, 66:2–20. The parties were specifically directed to file as attachments

 to those briefs any documents or declarations necessary to support their




                                       -3-
Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 4 of 9 PageID 4025




 positions regarding Defendants’ ability to pay an award and they were granted

 leave to file such information under seal. 2 Id.

       Plaintiff filed its supplemental brief and evidence on November 8, 2023.

 Dkts. 141, 142. In its filing, Plaintiff established the alumni association

 possessed assets sufficient to pay the award of expenses. See id.

       Defendants still had not complied with the Fee Order by November 15.

 On that date, rather than filing a supplemental brief and submitting evidence

 in support of their contention that payment of the award would render the

 association insolvent, Defendants filed a Notice stating that they were

 “prepared to pay the Plaintiff $18,792.00 immediately, and have requested

 payment instructions from Plaintiff’s counsel to deliver such payment.”

 Dkt. 147 at 1. Plaintiff responded to this Notice the next day, confirming that

 Defendants had paid the outstanding fee award on November 16, but

 requesting that the Court grant it attorney’s fees and costs in connection with

 the original motion for contempt. Dkt. 152 at 2.

                II. LEGAL STANDARDS AND ANALYSIS

       Federal courts have both inherent and statutory authority to punish

 contempt and to coerce compliance with their orders. See Purchasing Power,




 2 In cases where the contemnors claim that it is factually impossible for them

 to comply, they bear the burden of producing evidence to support their claim.
 See United States v. Rylander, 460 U.S. 752, 757 (1983).

                                        -4-
Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 5 of 9 PageID 4026




 LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1223 (11th Cir. 2017). Under 18

 U.S.C. § 401,

          A court of the United States shall have the power to punish
          by fine or imprisonment, or both, at its discretion, such
          contempt of its authority, and none other as–
          (1) [m]isbehavior of any person in its presence or so near
          thereto as to obstruct the administration of justice;
          (2) [m]isbehavior of any of its officers in their official
          transactions;
          (3) [d]isobedience or resistance to its lawful writ, process,
          order, rule, decree, or command.

 This statutory authority applies to both criminal and civil actions. United

 States v. Bardell, No. 6:11-cr-401, 2022 WL 16921698, at *17 (M.D. Fla. June

 6, 2022), report and recommendation adopted, 634 F. Supp. 3d 1083 (M.D. Fla.

 2022).

       Civil contempt sanctions serve to: (1) coerce the contemnor to comply

 with a Court order, or (2) compensate a party for losses suffered because of the

 contemnor’s act. United States v. City of Miami, 195 F.3d 1292, 1298 (11th Cir.

 1999). The Court’s “civil contempt power is measured solely by the

 requirements of full remedial relief.” Id. (quoting Citronelle-Mobile Gathering,

 Inc. v. Watkins, 943 F.2d 1297, 1304 (11th Cir. 1991)) (quotations and citations

 omitted).

       Here, Plaintiff originally sought a finding of civil contempt with a

 coercive purpose. Dkt. 104 at 2. Circumstances changed as the Motion was




                                       -5-
Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 6 of 9 PageID 4027




 briefed and argued. After extensive briefing, many notices, a hearing, 3 and

 more notices, Defendants finally complied with the Court’s order by paying the

 expenses awarded. Dkt. 152 at 1. Undeterred, Plaintiff persists in its request

 for sanctions, revising its requested relief to “a civil penalty for each day of

 noncompliance,” an award of reasonable attorneys’ fees and costs, and other

 sanctions the Court deems proper. Id. at 2.

       The best way to put the circumstances here is that Plaintiff’s Motion has

 been overcome by events. Plaintiff wanted to be paid the expenses it was

 awarded on the day the payment was ordered. Defendants paid, but not on

 time and not without the need for the Court’s intervention. That said, coercive

 sanctions are no longer necessary, and so the primary relief sought in the

 Motion is moot. 4




 3 The Motion was noticed for a hearing on November 3, 2023. Dkt. 125. The

 notice directed that “defendants presence is required.” Id. Despite this,
 Defendants did not appear at the hearing. Dkt. 136.

 4 To be sure, the Court could impose a sanction that is compensatory in nature.

 See United States v. Bardell, 634 F. Supp. 3d 1083, 1088 (M.D. Fla. 2022)
 (“Once the ‘contumacious conduct’ ceases, the need for a coercive sanction ends,
 but the court retains the power to impose compensatory sanctions.”) (citation
 omitted). But compensatory sanctions must be “based upon evidence of
 complainant’s actual loss,” United Mine Workers of Am., 330 U.S. at 304, and
 Plaintiff has not demonstrated that it suffered a loss due to Defendants’
 belated payment. I therefore conclude compensatory sanctions would be
 inappropriate. See, e.g., Nat’l Drying Mach. Co. v. Ackoff, 245 F.2d 192, 195 (3d
 Cir. 1957) (reasoning “there can be no ‘equity’ in a compensatory award except
 as it provides a fair equivalent for some loss.”).

                                       -6-
Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 7 of 9 PageID 4028




         May the Court nonetheless impose fines for each day the payment was

 delayed, as Plaintiff now requests? Put simply, no. Plaintiff’s new requested

 relief is intended to punish Defendants’ willful conduct. It is therefore no longer

 civil in nature and must be issued in a criminal contempt proceeding. See

 Gregory v. Depte, 896 F.2d 31, 35 (3d Cir. 1990) (quoting Ackoff, 245 F.2d at

 195).

         Criminal contempt is subject to a more demanding standard. In contrast

 to civil contempt, a finding of criminal contempt requires “both a contemptuous

 act and a willful, contumacious, or reckless state of mind.” In re Joyce, 506 F.2d

 373, 378 (5th Cir. 1975). Plaintiff has established the former but not the latter.

         And because “criminal contempt is a crime in the ordinary sense,” due

 process imposes higher procedural standards. In re McLean, 794 F.3d 1313,

 1324 (11th Cir. 2015). The Constitution imposes a panoply of protections on

 criminal contempt proceedings, each of which must be observed before the

 Court can impose sanctions. In re E.I. DuPont De Nemours & Co.-Benlate

 Litig., 99 F.3d 363, 368 (11th Cir. 1996). Defendants in criminal contempt

 proceedings must be presumed innocent, proved guilty beyond a reasonable

 doubt, accorded the right to refuse to testify, advised of the charges, have a

 reasonable opportunity to respond, given an opportunity to call witnesses, and,

 for serious contempt, afforded a jury trial. Young v. U.S. ex rel. Vuitton et Fils

 S.A., 481 U.S. 787, 798 (1987) (citations omitted). Defendants here were


                                        -7-
Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 8 of 9 PageID 4029




 provided none of these protections because Plaintiff’s original request for relief

 called for coercive civil contempt sanctions.

       In short, Plaintiff has not proven criminal contempt, nor have

 Defendants been offered the protections required before the Court may impose

 criminal contempt sanctions. Plaintiff’s revised request for punitive, criminal

 contempt sanctions should be denied.

                             III. CONCLUSION

       Accordingly, I respectfully recommend that Plaintiff’s Motion for

 Contempt (Dkt. 104) be DENIED.

                             NOTICE TO PARTIES

       “Within 14 days after being served with a copy of [a report and

 recommendation], a party may serve and file specific written objections to the

 proposed findings and recommendations.” Fed. R. Civ. P. 72(b)(2). “A party

 may respond to another party’s objections within 14 days after being served

 with a copy.” Id. A party’s failure to serve and file specific objections to the

 proposed findings and recommendations alters review by the district judge and

 the United States Court of Appeals for the Eleventh Circuit, including waiver

 of the right to challenge anything to which no specific objection was made. See

 Fed. R. Civ. P. 72(b)(3); 28 U.S.C. § 636(b)(1)(B); 11th Cir. R. 3-1.

       Entered in Orlando, Florida, on December 19, 2023.




                                        -8-
Case 6:22-cv-00047-WWB-RMN Document 180 Filed 12/19/23 Page 9 of 9 PageID 4030




 Copies to:

 Hon. Wendy W. Berger

 Counsel of Record




                                     -9-
